Case 2:04-cv-02123-JAG-MCA Document 13 Filed 07/06/04 Page 1 of 10 PageID: 993



 LITE DEPALMA GREENBERG & RIVAS, LLC
 Joseph J. DePalma (JD-7697)
 Susan D. Pontoriero (SP-0463)
 Two Gateway Center, 12th Floor
 Newark, New Jersey 07102
 973-623-3000
 Proposed Liaison Counsel

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 [ELECTRONICALLY FILED]

 EARL MAITLAND, individually and on       )
 behalf of all others similarly situated, )
                                          )
                              Plaintiff,  )
                                          )
            v.                            )   Civil Action No. 2:04-CV-2123 (JAG)
                                          )
 GENTA, INC., RAYMOND P.                  )
 WARRELL, JR., and LORETTA M. ITRI, )
                                          )
                              Defendants. )
 [Captions continued on next page]

            NOTICE OF MOTION OF MOVANT MAX INTERNATIONAL
              BROKER/DEALER CORP. TO CONSOLIDATE ACTIONS,
        TO BE APPOINTED LEAD PLAINTIFF AND FOR APPROVAL OF LEAD
       PLAINTIFF’S SELECTION OF LEAD COUNSEL AND LIAISON COUNSEL
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 HENRY FURINO, on behalf of himself )
 and all others similarly situated, )
                                    )
                        Plaintiff,  )
                                    )
         v.                         )            Civil Action No. 2:04-CV-2132 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
 JAY WASSERMAN, on behalf of himself )
 and all others similarly situated,          )
                                             )
                                 Plaintiff,  )
                                             )
             v.                              )   Civil Action No. 2:04-CV-2133 (JAG)
                                             )
 GENTA, INC., RAYMOND P.                     )
 WARRELL, JR., and LORETTA M. ITRI, )
                                             )
                                 Defendants. )
 RICHARD M. YARBRO, on behalf of          )
                                          )
 himself and all others similarly situated,
                                          )
                              Plaintiff,  )
                                          )
            v.                            )      Civil Action No. 2:04-CV-2160 (JAG)
                                          )
 GENTA, INC., RAYMOND P.                  )
 WARRELL, JR., and LORETTA M. ITRI, )
                                          )
                              Defendants. )
 [Captions continued on next page]
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 SARAH SONTAG, individually and on  )
 behalf of all others similarly situated,
                                    )
                                    )
                        Plaintiff,  )
                                    )
         v.                         )            Civil Action No. 2:04-CV-2162 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
                                    )
 FRED DEN, on behalf of himself and all
 others similarly situated,         )
                                    )
                        Plaintiff,  )
                                    )
         v.                         )            Civil Action No. 2:04-CV-2201 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
 RICHARD JACOBS, on behalf of himself )
 and all others similarly situated,          )
                                             )
                                 Plaintiff,  )
                                             )
             v.                              )   Civil Action No. 2:04-CV-2231 (JAG)
                                             )
 GENTA, INC., RAYMOND P.                     )
 WARRELL, JR., and LORETTA M. ITRI, )
                                             )
                                 Defendants. )
 [Captions continued on next page]
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 BERNARD SAGGAU, individually and on )
 behalf of all others similarly situated,    )
                                             )
                                 Plaintiff,  )
                                             )
             v.                              )     Civil Action No. 2:04-CV-2232 (JAG)
                                             )
 GENTA, INC., RAYMOND P.                     )
 WARRELL, JR., and LORETTA M. ITRI, )
                                             )
                                 Defendants. )
 BONNIE ROST, individually and on   )
                                    )
 behalf of all others similarly situated,
                                    )
                        Plaintiff,  )
                                    )
         v.                         )              Civil Action No. 2:04-CV-2245 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
 ABRAHAM MEISNER, individually and             )
 on behalf of all others similarly situated,   )
                                               )
                                 Plaintiff,    )
                                               )
             v.                                )   Civil Action No. 2:04-CV-2246 (JAG)
                                               )
 GENTA, INC., RAYMOND P.                       )
 WARRELL, JR., and WILLIAM P.                  )
 KEANE,                                        )
                                               )
                              Defendants.      )
 [Captions continued on next page]
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 MILTON PFEIFFER, on behalf of himself )
 and all others similarly situated,          )
                                             )
                                 Plaintiff,  )
                                             )
             v.                              )    Civil Action No. 2:04-CV-2314 (JAG)
                                             )
 GENTA, INC., RAYMOND P.                     )
 WARRELL, JR., and LORETTA M. ITRI, )
                                             )
                                 Defendants. )
 ANGELICA L. FURLA, on behalf of    )
                                    )
 herself and all others similarly situated,
                                    )
                       Plaintiff,   )
                                    )
         v.                         )             Civil Action No. 2:04-CV-2392 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., LORETTA M. ITRI, and )
 WILLIAM P. KEANE,                  )
                                    )
                       Defendants. )
 JOHN F. ELLIOT, individually and on          )
 behalf of all others similarly situated,     )
                                              )
                                Plaintiff,    )
                                              )
            v.                                )   Civil Action No. 2:04-CV-2466 (JAG)
                                              )
 GENTA, INC., RAYMOND P.                      )
 WARRELL, WILLIAM P. KEANE, and               )
 LORETTA M. ITRI,                             )
                                              )
                              Defendants.     )
 [Captions continued on next page]
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 BARRY GERARD, on behalf of himself           )
 and all others similarly situated,           )
                                              )
                                Plaintiff,    )
                                              )
            v.                                )   Civil Action No. 2:04-CV-2471 (JAG)
                                              )
 GENTA, INC., RAYMOND P.                      )
 WARRELL, JR., LORETTA M. ITRI,               )
 M.D., and WILLIAM P. KEANE,                  )
                                              )
                                Defendants.   )
 JOHN F. ELLIOT, individually and on          )
 behalf of all others similarly situated,     )
                                              )
                                Plaintiff,    )
                                              )
            v.                                )   Civil Action No. 2:04-CV-2498 (JAG)
                                              )
 GENTA, INC., RAYMOND P.                      )
 WARRELL, WILLIAM P. KEANE, and               )
 LORETTA M. ITRI,                             )
                                              )
                                Defendants.   )
 DAVID GREENBERG, on behalf of            )
                                          )
 himself and all others similarly situated,
                                          )
                              Plaintiff,  )
                                          )
            v.                            )       Civil Action No. 2:04-CV-2576 (JAG)
                                          )
 GENTA, INC., RAYMOND P.                  )
 WARRELL, JR., and LORETTA M. ITRI, )
                                          )
                              Defendants. )
 [Captions continued on next page]
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 CASEY M. MCGUANE, on behalf of     )
 himself and all others similarly situated,
                                    )
                                    )
                       Plaintiff,   )
                                    )
         v.                         )         Civil Action No. 2:04-CV-2581 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., LORETTA M. ITRI, and )
 WILLIAM P. KEANE                   )
                                    )
                       Defendants. )
 HAROLD FULLEN, on behalf of himself)
 and all others similarly situated, )
                                    )
                        Plaintiff,  )
                                    )
         v.                         )         Civil Action No. 2:04-CV-2664 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
 CORY HECHLER, on behalf of himself       )
 and all others similarly situated,       )
                                          )
                              Plaintiff,  )
                                          )
            v.                            )   Civil Action No. 2:04-CV-2665 (JAG)
                                          )
 GENTA, INC., RAYMOND P.                  )
 WARRELL, JR., and LORETTA M. ITRI, )
                                          )
                              Defendants. )
 [Captions continued on next page]
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 WILLIAM T. DEANE, on behalf of     )
 himself and all others similarly situated,
                                    )
                                    )
                       Plaintiff,   )
                                    )
         v.                         )         Civil Action No. 2:04-CV-2876 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., LORETTA M. ITRI, and )
 WILLIAM P. KEANE                   )
                                    )
                       Defendants. )
 ARTHUR SIEGEL, individually and on )
 behalf of all others similarly situated,
                                    )
                                    )
                        Plaintiff,  )
                                    )
         v.                         )         Civil Action No. 2:04-CV-2908 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., and LORETTA M. ITRI, )
                                    )
                        Defendants. )
                                    )
 JOHN T. JACOBUS, individually and on
                                    )
 behalf of all others similarly situated,
                                    )
                       Plaintiff,   )
                                    )
         v.                         )         Civil Action No. 2:04-CV-2936 (JAG)
                                    )
 GENTA, INC., RAYMOND P.            )
 WARRELL, JR., LORETTA M. ITRI, and )
 WILLIAM P. KEANE                   )
                                    )
                       Defendants. )
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        PLEASE TAKE NOTICE that Max International Broker/Dealer Corp. (“Movant” or

 “Max International”), by its counsel, will hereby move will hereby move before the Honorable

 Joseph A. Greenaway, U.S.D.J., at the United States District Court for the District of New

 Jersey, at the Martin Luther King Jr. Federal Building & Courthouse, Newark, New Jersey

 07101, on a date and at such time as may be designated by the Court, for an Order: (i)

 consolidating for all purposes the above-captioned related actions pursuant to Fed. R. Civ. P.

 42(a); (ii) appointing Max International as lead plaintiff; (iii) approving Max International’s

 selection of the law firm of Schiffrin & Barroway, LLP to serve as lead counsel; (iv) approving

 Max International’s selection of the law firm of Lite DePalma Greenberg & Rivas, LLC to serve

 as liaison counsel; and (v) granting such other and further relief as the Court may deem just and

 proper. In support of this motion, Movant will rely upon the accompanying Memorandum of

 Law and Declaration of Susan D. Pontoriero and the exhibits annexed thereto. A proposed form

 of Order is submitted herewith.

 Dated: July 6, 2004.

                                               Respectfully submitted,

                                               LITE DEPALMA
                                                GREENBERG & RIVAS, LLC

                                               By: /s/ Joseph J. DePalma
                                               Joseph J. DePalma (JD-7697)
                                               Susan Pontoriero ( SP-0463)
                                               Two Gateway Center, 12th Floor
                                               Newark, New Jersey 07102
                                               Telephone: (973) 623-3000
                                               Facsimile:    (973) 623-0211

                                               Proposed Liaison Counsel
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                                     SCHIFFRIN & BARROWAY, LLP
                                     Stuart L. Berman
                                     Darren J. Check
                                     Sean M. Handler
                                     Three Bala Plaza East, Suite 400
                                     Bala Cynwyd, Pennsylvania 19004
                                     Telephone: (610) 667-7706
                                     Facsimile:    (610) 667-7056

                                     Proposed Lead Counsel
